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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

WACO DIVISION

Patent Armory Inc.,

vs. Case No.: 6:23-cv-00327-ADA
OnePlus Technology (Shenzhen) Co., Ltd.,

ORDER
BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Tony V. Pezzano , counsel for

OnePlus Technology (Shenzhen) Co., Ltd., , and the Court, having reviewed the motion, enters

the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Tony V. Pezzano may appear on behalf of OnePlus Technology (Shenzhen)

in the above case.

IT IS FURTHER ORDERED that Tony V. Pezzano , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
District Court, in compliance with Local Court Rule AT-I(f)(2).

SIGNED this the day of September 20

UNITED STATES DISTRICT JUDGE
